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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Crim. No. 10-cr-065-01-SM


Jeremy Clough


                   ORDER OF DETENTION PENDING TRIAL


     In accordance with Section 3142(f) of the Bail Reform Act,

18 U.S.C. §§ 3141 et seq., a hearing was conducted on May 21,

2010, for the purpose of determining whether to detain defendant,

Jeremy Clough, who was indicted on May 12, 2010 on the following

charges:   one (1) count of Conspiracy to Manufacture

Methamphetamine in violation of 21 U.S.C. § 846; one (1) count of

Unlawful Manufacture Methamphetamine in violation of 21 U.S.C. §

841(a)(1); one (1) count of Maintaining Drug-Involved Premises in

violation of 21 U.S.C. § 856 (a)(1) & (a)(2); and one (1) count

of Manufacturing in or Near Schools in violation of 21 U.S.C. §

841(a)(1) & 860.

     Under 18 U.S.C. § 3142(b), a court, in making a

determination regarding detention, must evaluate the risk of the

defendant’s flight, the risk to the safety of any other person,

and the risk to the safety of the community.         In circumstances
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when detention is not mandated by the court, the court is

nonetheless empowered to impose conditions on release.            18 U.S.C.

§ 3142(c).

     Pursuant to the provisions of 18 U.S.C. § 3142(g) a court,

in assessing the risks noted in 18 U.S.C. § 3142(b), shall

consider the following: (1) the nature and circumstances of the

offense charged; (2) the weight of the evidence as to guilt;

(3) the history and characteristics of the accused, including

family ties, past history, financial resources and employment;

and (4) the nature and seriousness of the danger to any person or

the community that would be posed by a release.

     During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government typically retains the burden of

persuading the court that “‘no condition or combination of

conditions will reasonably assure’ the defendant’s presence at

trial.”   United States v. Perez-Franco, 839 F.2d 867, 870 (1st

Cir. 1988)(quoting United States v. Palmer-Contreras, 835 F.2d

15, 17-18 (1st Cir. 1987)); United States v. Patriarca, 948 F.2d

789, 793 (1st Cir. 1991).     For its part, the government is

required to offer clear and convincing evidence of dangerousness;

and a preponderance of the evidence to prove risk of flight.              See



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Patriarca, 948 F.2d at 792-93.     Facts necessary to find that no

combination will reasonably assure the safety of any person and

the community require satisfaction of the “clear and convincing”

standard.   18 U.S.C. § 3142(f)(2).

     In specific instances, delineated in 18 U.S.C. § 3142(e), a

presumption arises that no condition or combination of conditions

will reasonably assure the appearance of a defendant and the

safety of the community.     Among the instances in which a

presumption arises is the situation in which,

     the judicial officer finds that there is probable cause to
     believe that the person committed an offense for which a
     maximum term of imprisonment of ten years or more is
     prescribed in the Controlled Substances Act (21 U.S.C. 801
     et seq) . . . .

18 U.S.C. § 3142(e).

     In the case at hand, the indictment itself constitutes

probable cause to believe that the offenses charged have been

committed and that the defendant has committed them.            Further,

the offenses charged against defendant are ones for which a

maximum term of imprisonment is ten years or more, as prescribed

in the Controlled Substances Act, 21 U.S.C. §§ 801 et seq.                See

United States v. Dillon, 938 F.2d 1412, 1417 (1st Cir. 1991).

Thus, Section 3142(e)’s rebuttable presumption that “no condition



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or combination of conditions will reasonably assure [defendant’s]

appearance . . . and the safety of the community . . .” is

triggered in this case.       See 18 U.S.C. § 3142(e), (f); 21 U.S.C.

§ 841(b)(1)(C); see also United States v. Vargas, 804 F.2d 157,

162-63 (1st Cir. 1986).

      In order to counter the statutory presumption triggered, the

defendant must present evidence which demonstrates that “what is

true in general is not true in [his] particular case.”              United

States v. Jessup, 757 F.2d 378, 384 (1st Cir. 1985).              Notably,

the burden is one of production, not of persuasion.             Id. at 380-

81.

      Here, the defendant failed to rebut the presumption with

regard to dangerousness to the community.          Specifically, the

weight of the evidence was overwhelming and uncontroverted; in

fact, the defendant made an admission to the offenses charged.

The circumstances surrounding the offense also support a

dangerousness finding.        The defendant employed a method of

manufacturing methamphetamine that involved various chemicals

that can become flammable when mixed.         Thus, by engaging in this

activity, the defendant placed numerous innocent people at risk

who were living in the apartment complex where the defendant



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allegedly manufactured methamphetamine, including the co-

defendant's children, as well as others who were attending

classes at a nearby school.     In fact, a fire broke out during the

defendant's arrest as a result of the flammable nature of the

chemicals used in the manufacturing process and numerous students

and a teacher required medical attention.        Additionally, the

pretrial services report documents that despite the defendant's

completion of an inpatient substance abuse program at Farnum

Center in 2008, he continued to abuse a variety of substances.

Finally, he has an uncertain future residential situation and a

history of untreated mental health issues.

     In short, the defendant here is precisely the type of

individual Congress envisioned when it established the statutory

presumption.   Aside from the presumption imposed in this case by

18 U.S.C. § 3142(e), however, I am satisfied from the

representations offered during the hearing that no condition or

combination of conditions will reasonably assure the safety of

the community.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.




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        The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.       The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                   On

order of a court of the United States or on request of an

attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

        SO ORDERED.
                                               /s/ Daniel J. Lynch
                                          ______________________________
                                          Daniel J. Lynch
                                          United States Magistrate Judge

Date:    May 26, 2010

cc:     Jennifer C. Davis, AUSA
        Jessica C. Brown, FPD
        U.S. Marshal
        U.S. Probation




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